AO 91 (Rev I III I) Cnmmal Complaint


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                      Eastern District of North Carolina

                   United States of America                                    )
                                v.
                   TOBIAS DEMAR MAYO
                                                                               )
                                                                               )
                                                                               )
                                                                               )
                                                                                        Case o.         Y~ I~- VYJJ- IV33
                                                                               )
                                                                               )
                            Defendant(s)


                                                      CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                       June 15, 2018                        in the county of                         Pitt         in the

        Eastern        District of _ __:_:
                                        N..::.
                                           o:..::
                                              rth:..:.....=
                                                        C..::
                                                            a.:..:
                                                              ro:.:.:li.:.:.
                                                                        na  = --- , the defendant(s) violated:

            Code Section                                                                   Offense Description
18 U.S.C. § 922(g)(1)                               Felon in Possession of a Firearm and Ammunition
18 U.S.C. § 924(a)(2)




          This criminal complaint is based on these facts:

See attached affidavit.




          ~ Continued on the attached sheet.



                                                                                                                 Complainant ·s signature

                                                                                                  M.T. McKnight, FBI , Task Force Officer
                                                                                                                  Printed name and title

Sworn to before me and signed in my presence.



Date:         (r;j; q /; f
                        I
City and state :                           Greenville, NC                                    KIMBERLY A . SWANK, U.S. Magistrate Judge
                                                                                                                  Printed name and title




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                    UNITED STATES DISTICT COURT
                EASTERN DISTRICT OF NORTH CAROLINA
                    GREENVILLE, NORTH CAROLINA

I, M.T. McKnight, being duly sworn, depose and state that:

  1. Affiant, M.T. McKnight, is a Task Force Officer (TFO) with
     the Federal Bureau of Investigation (FBI) assigned to the
     Charlotte, North Carolina (NC) Field Office with duty in the
     Greenville Resident Agency. I have been a Task Force Officer
     with the FBI for over two years and a police officer and
     detective with the Greenville, NC Police Department (GPD) for
     almost nine years. I h ave sworn authority through the FBI to
     investigate and enforce violations of Title 21, United States
     Code, as well as deputized authority through the United States
     Marshal 's Service, to enforce Title 18 offenses . I have worked
     a variety of federal and state criminal investigations,
     including,    but   not  limited   to   violent    crime,   drug
     trafficking, kidnapping and financial crimes.


  2 . I am familiar with the facts and circumstances set forth in
      this affidavit. The information in this affidavit is derived
      from my persona l observa tions, discussions with other l aw
      enforcement officers who have personal knowledge of the
      matter and events described herein. Since the aff idavit is
      being submitted for the limited purpose of establishing
      probable cause to support the issuance of an arrest warrant,
      I have not included each and every fact known to me concerning
      this investigation, and have set forth only those facts I
      believe are necessary for said purpose.


                   DETAILS OF THE INVESTIGATION

 1. On or about June 13, 2018, in Pitt County, North Carolina in
    the Eastern District of North Carolina,         I  spoke with
    Greenville Police Department Officer Brian Gillen concerning
    informati on he learned from a confidential human source (CHS)
    about the activities of TOBIAS DEMAR MAYO. The CHS whose
    identity is known to the affiant. The CHS provided information
    known to be accurate and reliable regarding MAYO's unlawful
    possession of a firearm and narcotics.

 2 . The CHS has direct knowledge of MAYO directing females he was
     accompanying to hold firearms and narcotics when stopped by
     police due to MAYO being a convicted felon.




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3. The CHS advised that MAYO was not allowed to drive a black
   sports car with a racing stripe owned by his wife, later
   identified as CHRISTINA ROUSE, due to him being out in the
   streets associating with people conducting drug sales and
   prostitution . This information was later confirmed to be
   accurate when MAYO was observed by Greenville Police officers
   riding in the front passenger seat of the car, traveling
   towards a location known for drug and prostitution activity
   on Sylvan Drive.

4. On or about June 15, 2018, Greenville Police Department
   Officers observed a black Dodge Challenger sports car with a
   red racing stripe bearing NC license 30 day plate 23961224. A
   male subject matching the description of MAYO was observed to
   be sitting ins ide the front passenger seat of the vehicle
   after leaving the known address of MAYO, 104 - C Concord Drive,
   Greenville, NC.

5 . Officers followed the Challenger on Hooker Road, crossing over
    Arlington Boulevard heading towards Sylva n Drive . GPD Sergeant
    Phil Rollinson observed the driver commit a violation of the
    North Carolina General Statutes, Chapter 20 , regarding motor
    vehicle law .

6. Upon stopping the vehic l e on Sylva n Drive, officers made
   contact with both the driver, CHRISTINA ROUSE and passenger,
   whose identity was confirmed to be TOBIAS MAYO .

7. MAYO was a sked to step out of the vehicle based on information
   that he wa s known to be armed with a metal, either chrome or
   nickel, handgun with wood on the handle, possibly a .380
   caliber gun.

8 . MAYO specifically noted he did not want officers searching a
    purple Crown Royal bag on the floor of the front passenger
    seat because he had personal items in the bag.

9. ROUSE was asked for consent to search the vehicle. ROUSE gave
   consent to search the vehicle and stated that she did not have
   any knowledge of weapons or illegal items inside the vehicle.

lO.Upon looking i nsi d e the vehicle, a GPD officer observed the
   handle of a revolver sticking out of the Crown Royal bag that
   MAYO stated he did not want searched because he had personal
   items inside.




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11. MAYO was known to be a convicted felon, having served time
   in the North Carolina Department of Public Safety for being a
   Habitual Felon, an offense that required MAYO serve more than
   one year and one day in the NCDPS prisons system.

12. In addition to being convicted of being a Habitual Felon,
   MAYO also was convicted of the offenses of Possess with Intent
   to Sell a Schedule I controlled substance, Assault with a
   Deadly Weapon with Intent to Kill, Selling a Schedule II
   controlled substance, and an additional count of Possess with
   Intent to Sell a Schedule I controlled substance in Pitt
   County, NC Superior Court on April 3, 2012 and sentenced to a
   minimum prison term of five (5) years and seven (7) months.

13. ROUSE was asked if the firearm or contents in the Crown Royal
   bag belonged to her and she stated that neither item belonged
   to her.

14. A check of the firearm using the serial number 53986 revealed
   that the firearm, a silver colored metal Rossi .38 special
   revolver with wood on the grip was reported stolen from the
   jurisdiction of Tuscaloosa, Alabama.

15 . The firearm was loaded with two PMC brand,    .38 caliber
   bullets.

16.0n or about June 18, 2018, the affiant spoke with Special
  Agent John Griffin of the Bureau of Alcohol, Tobacco,
  Firearms , and Explosives who opined that the weapon is a
  firearm as defined in Title 18 United States Code Section
  921(a)(3) and was not manufactured in the state of North
  Carolina . Therefore, Griffin opined that the firearm must have
  traveled in, and thereby affected interstate commerce if it
  was received or possessed in North Carolina.

17. On or a b out June 18, 2018, Griffin also opined that the two
   rounds of PMC brand .38 caliber ammunition found inside the
   weapon also had an effect on interstate commerce and were not
  manufactured in North Carolina.




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 18 . Based on the information obtained during the course of the
     investigation as presented above, your affiant believes
    probable cause exists that TOBIAS DEMAR MAYO did while being
    a convicted felon, knowingly possess a firearm and ammunition
     in violation of 18 USC§ 922(g)(1) and 18 USC§ 924 (a)(2).




                                M.T . McKnight
                                Task Force Officer
                                Federal Bureau of Investigation
                                Greenville, North Carolina



Subscribed and sworn to before me this    ~S{~y        of June 2018.




                                Judge




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